
—Judgment reversed on the law and a new trial granted, without costs of this appeal to any party. Memorandum: In this particular case the difference between the value of the land before and the value of the land after the appropriation is not the correct rule because as a part of the improvement there were changes in street locations which while injuring this property are damnum absque injuria. Therefore, there should be separate findings of the value of the land permanently appropriated and of the use of land temporarily appropriated and the amount of the damage to the remainder of the land not appropriated. As to the extent of the interest appropriated see Buffalo Valley Realty Co. v. State of New York (273 N. Y. 319). AH concur. (The judgment awards claimants damages for appropriation of realty.) Present — Sears, P. J., Crosby, Lewis, Cunningham and Taylor, JJ.
